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         Exhibit C
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                    UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA


U.S. DOMINION, INC., et al.,

              Plaintiffs,

       v.                                  Civil Action No. 1:21-cv-445
                                           (CJN)
MY PILLOW INC., et al.,


              Defendants.

       v.

SMARTMATIC USA CORP., SMARTMATIC INT’L HOLDING B.V., SGO
CORPORATION LIMITED, and HAMILTON PLACE STRATEGIES, LLC,

Third-Party Defendants.




U.S. DOMINION, INC., et al.,

              Plaintiffs,

       v.                                  Civil Action No. 1:21-cv-213
                                           (CJN)
RUDOPLH W. GIULIANI,



              Defendant.
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 U.S. DOMINION, INC., et al.,

                Plaintiffs,

         v.                                          Civil Action No. 1:21-cv-40
                                                     (CJN)
 SIDNEY POWELL, et al.,


                Defendants.




 US DOMINION, INC., et al.,

 Plaintiffs/Counter-Defendants,

        v.                                           Civil Action No. 1:21-cv-02131 (CJN)

 PATRICK BYRNE.
 Defendant.




    AMENDED PROTECTIVE ORDER GOVERNING THE PRODUCTION AND
                  EXCHANGE OF CONFIDENTIAL INFORMATION

       Plaintiffs US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting

Systems Corporation (collectively, “Dominion”), Third-Party Defendant Hamilton Place

Strategies, and Defendants Michael J. Lindell, MyPillow, Inc., Rudolph W. Giuliani, Sidney

Powell, Sidney Powell, P.C., Defending the Republic, Inc., and Patrick Byrne (“Parties”) are

engaged in discovery proceedings, which include, among other things, taking depositions,

answering interrogatories, and producing documents. The Parties believe that certain

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information they have produced or will produce may contain information that is proprietary,

commercially sensitive, or non-public. Under Rules 5.2 and 26(c) of the Federal Rules of Civil

Procedure, this Order Governing the Production and Exchange of Confidential Information

(the “Order”) will govern the handling of documents, testimony (in any form whether by

affidavit, declaration, or deposition), exhibits, transcripts, written discovery requests,

interrogatory responses, responses to requests for admission, responses to requests for

documents, and any other information or material produced, given, or exchanged, including any

information contained therein or derived therefrom (“Discovery Material”), by or among any

Party or non-Party providing Discovery Material (each a “Producing Party”) in the Litigation1

to the party receiving the Discovery Material (“Receiving Party”). It is HEREBY ORDERED

THAT:

       1.      Any Discovery Material produced in the Litigation will be used, except by the

Producing Party, solely for purposes of this Litigation and no Receiving Party will provide

Discovery Material to any person or entity (including for any other litigation) or make any

Discovery Material public except as permitted by this Order and in this Litigation.

Notwithstanding the limitations in the preceding sentence, (i) any Party may use Discovery




1
 “Litigation” refers to the four related actions: US Dominion Inc., et al. v. My Pillow, Inc., et
al., No. 1:21-cv-00445-CJN (D.D.C.), US Dominion, Inc., et al. v. Powell, et al., No. 1:21-cv-
00040-CJN (D.D.C.), US Dominion, Inc., et al. v. Giuliani, No. 1:21-cv-00213-CJN (D.D.C.),
and US Dominion Inc., et al v. Byrne, No. 1:21-cv-02131-CJN (D.D.C.). This Order does not cover
Third-Party Defendants Smartmatic USA Corp., Smartmatic International Holding B.V., or
SGO Corporation Ltd.

The parties reserve the right to move the Court to expand this Order to include the parties in
US Dominion, Inc., et al. v. Herring Networks, et al., No 1:21-cv-02130-CJN (D.D.C.), if the
Court orders the parties in the Herring case to coordinate for discovery purposes with the
parties in the Litigation.

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Material lawfully obtained independently of this Litigation for any purpose consistent with any

other limitations placed on that Discovery Material; (ii) Dominion may produce Defendants’

Discovery Material in US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting

Systems Corp. v. Fox News Network, LLC, Case No. N21C-03-257 EMD, pending in the

Superior Court of the State of Delaware, US Dominion, Inc. v. Fox Corporation, Case No.

N21C-11-082 EMD, pending in the Superior Court of the State of Delaware, and US Dominion,

Inc. v. Newsmax Media Inc., Case No. N21C-08-063 EMD, pending in the Superior Court of

the State of Delaware, in response to third-party subpoenas lawfully issued and served on

Defendants in those cases; and (iii) Sidney Powell may produce Discovery Material in the Texas

Bar case brought against her, Commission for Lawyer Discipline v. Sidney Powell, No. DC-22- 02562

(Dist. Ct., Dallas County, TX), but if such Discovery Material is designated “Confidential” or

“Attorneys’ Eyes Only,” then Powell must notify the Court that she intends to produce such Discovery

Material and certify in writing that she will not use or produce the Discovery Material for any other

purpose.

        2.      Any Producing Party may designate any Discovery Material as “Confidential

Discovery Material” under the terms of this Order where such Party in good faith believes that

such Discovery Material contains Confidential Discovery Material. Confidential Discovery

Material is defined as material that consists of non-public customer information or information

that is proprietary or otherwise commercially sensitive.

        3.      Any Producing Party may designate any Discovery Material as “Attorneys’

Eyes Only Discovery Material” under the terms of this Order where such Party in good faith

believes that such Discovery Material contains Attorneys’ Eyes Only Discovery Material.

Attorneys’ Eyes Only Discovery Material is defined as material that contains extremely

Confidential information such that disclosure other than as permitted under Paragraph 9 of this

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Order is likely to cause substantial injury to the Producing Party. The Attorneys’ Eyes Only

designation includes, but is not limited to, the following categories of information: (i) non-

public damages- related and financial information, including confidential pricing, customer,

profit, sales, or other financial information; (ii) confidential business, marketing, or strategic

plans, including business, marketing, and technical information regarding the future provision

of services; and (iii) confidential and commercially sensitive trade secrets or technical information.

To the extent source code is determined to be relevant and discoverable, the Parties will agree to terms

and entry of a separate protective order for the source code before any is produced.

        4.      Notwithstanding any other provision of this Agreement, no Receiving Party

may provide Discovery Material designated as Confidential Material or Attorneys Eyes Only

Material to any person or entity involved in the Litigation unless and until that person or entity

confirms their understanding of, and agreement to, abide by the terms of this Order.

        5.      The designation of Discovery Material as Confidential Discovery Material or

Attorneys’ Eyes Only Discovery Material will be made in the following manner:

             a. In the case of documents or other written materials, including affidavits

                and declarations but not pre-trial deposition or other pre-trial testimony: (i) by

                affixing the legend “Confidential” or “Attorneys’ Eyes Only” to each page

                containing any Confidential or Attorneys’ Eyes Only Discovery Material; or (ii)

                in the case of electronically stored information produced in native format by

                affixing the legend “Confidential” or “Attorneys’ Eyes Only” to the media

                containing the Discovery Material (e.g., CD, DVD, thumb drive, external hard

                drive, or secure file transfer).

             b. In the case of testimony: (i) by a statement on the record, by counsel, at the time

                of such disclosure or, in the case of a deposition or other pre-trial oral testimony,
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               before the conclusion of the deposition or pre-trial testimony; or (ii) by written

               notice, sent to all Parties within 15 business days of receipt of the final deposition

               transcript or other pre-trial testimony; provided that only those portions of the

               transcript designated as Confidential or Attorneys’ Eyes Only Discovery

               Material will be deemed Confidential or Attorneys’ Eyes Only Discovery

               Material. Each deposition will be deemed to be Attorneys’ Eyes Only Discovery

               Material until 15 business days after counsel receive a copy of the final transcript,

               after which the deposition will be treated in accordance with its confidentiality

               designation, if any. The Parties may modify this procedure for any particular

               deposition, through agreement in writing before, or on the record at, such

               deposition, without further order of the Court.

            c. In the case of any other Discovery Material, by written notice that the Discovery

               Material constitutes Confidential or Attorneys’ Eyes Only Discovery Material.

       6.      The designation of Discovery Material as Confidential or Attorneys’ Eyes Only

Discovery Material will constitute a representation that such Discovery Material has been

reviewed by an attorney representing the Party making the designation, and that there is a good

faith basis for such designation.

       7.      Inadvertent failure to designate Discovery Material as Confidential or

Attorneys’ Eyes Only Discovery Material does not constitute a waiver of such claim and may

be corrected. A Producing Party may designate as Confidential or Attorneys’ Eyes Only any

Discovery Material that has already been produced, including Discovery Material that the

Producing Party inadvertently failed to designate as Confidential or Attorneys’ Eyes Only, (i)

by notifying in writing the Receiving Party to whom the production has been made that the


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Discovery Material constitutes Confidential or Attorneys’ Eyes Only Discovery Material, and

(ii) providing a replacement copy of the Discovery Material marked in a manner consistent

with Paragraph 5. After receiving such supplemental notice, the Parties will treat the Discovery

Material so designated as Confidential or Attorneys’ Eyes Only Discovery Material, and such

Discovery Material will be fully subject to this Order from the date of such supplemental notice

forward. The Party receiving such notice will make a reasonable, good-faith effort to ensure

that any analyses, memoranda, notes, or other such materials generated that include or are

based upon such newly designated information are immediately treated as containing

Confidential or Attorneys’ Eyes Only Discovery Material. In addition, after receiving such

supplemental written notice, any receiving Party that disclosed the Discovery Material before

its designation as “Confidential” or “Attorneys’ Eyes Only” will exercise its best efforts to

ensure (i) the return or destruction of such Discovery Material, if it was disclosed to anyone not

authorized to receive it under Paragraph 8 or Paragraph 9 of this Order, (ii) that any documents

or other materials derived from such Discovery Material are treated as if the Discovery Material

had been designated as “Confidential” or “Attorneys’ Eyes Only” when originally produced, (iii)

that such Discovery Material is not further disclosed except in accordance with the terms of

this Order, and (iv) that any such Discovery Material, and any information derived therefrom, is

used solely in accordance with this Order.

       8.      Except as otherwise provided in this Order, Confidential Discovery Material

may be disclosed, summarized, described, characterized, or otherwise communicated, orally or

in writing, or made available in whole or in part, only to the following persons for use in

connection with the Litigation and in accordance with this Order:

            a. The Parties’ current employees who are assisting with or making decisions


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        concerning this Litigation, to the extent deemed reasonably necessary by counsel

        of record for the purpose of assisting in the prosecution or defense of the

        Litigation;

     b. Counsel for the Parties in the Litigation (including in-house counsel), and the

        partners, associates, paralegals, secretaries, clerical, regular and temporary

        employees, and service vendors of such counsel (including outside copying and

        litigation support services) who are assisting with the Litigation;

     c. Subject to Paragraph 4, experts, consultants, or independent litigation support

        services assisting counsel for the Parties, and partners, associates, paralegals,

        secretaries, clerical, regular and temporary employees, and service vendors of

        such experts or consultants (including outside copying services and outside

        support services) who are assisting with the Litigation;

     d. As to persons not otherwise covered by Subparagraphs 8(a)–(c), a party may

        disclose material designated as “Confidential” to persons (1) who appear as an

        author or recipient on the face of the document to be disclosed; or (2) for which

        a good faith basis exists to believe the potential witness or deponent has

        knowledge of the contents of a document;

     e. Subject to Paragraph 4, witnesses or deponents, and their counsel, but only to the

        extent necessary to conduct or prepare for depositions or testimony in the

        Litigation;

     f. The Court, persons employed by the Court, translators, and videographers and

        court reporters who are recording and transcribing any hearing, trial, or deposition

        in the Litigation or any appeal therefrom; and

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            g. Any other person only upon (i) order of the Court entered upon notice to the

               Parties, or (ii) written stipulation or statement on the record of agreement by the

               Producing Party who provided the Discovery Material being disclosed, provided

               that such person signs an undertaking in the form attached as Exhibit A hereto.

            h. Any videographer, translator, court reporter, or transcriber who reports, tapes,

               translates, or transcribes testimony in this Litigation at a deposition will agree by

               a statement on the record, before recording or transcribing any such testimony

               constituting Confidential Discovery Materials, that all such testimony and

               information revealed at the deposition is and will remain confidential and will

               not be disclosed by such translator, videographer, reporter, or transcriber except

               to the attorneys for each Party and any other person who is present while such

               testimony is being given, and that copies of any transcript, reporter’s notes or any

               other transcription records of any such testimony will be retained in

               confidentiality and safekeeping by such videographer, translator, reporter, or

               transcriber or will be delivered to the undersigned attorneys.

       9.      Except as otherwise provided in this Order, Attorneys’ Eyes Only Discovery

Material may be disclosed, summarized, described, characterized, or otherwise communicated,

orally or in writing, or made available in whole or in part, only to the following persons for use

in connection with the Litigation and in accordance with this Order:

            a. Counsel for the Parties in the Litigation (including in-house counsel), and the

               partners, associates, paralegals, secretaries, clerical, regular and temporary

               employees of counsel (“Counsel”);

            b. Service vendors of Counsel for the Parties (including outside copying and

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         litigation support services) who are assisting with the Litigation;

      c. No more than five corporate designees for the Receiving Party;

      d. Subject to Paragraph 4, experts, consultants, or independent litigation support

         services assisting counsel for the Parties, and partners, associates, paralegals,

         secretaries, clerical, regular and temporary employees, and service vendors of

         such experts or consultants (including outside copying services and outside

         support services) who are assisting with the Litigation;

      e. Subject to Paragraph 4, witnesses or deponents, and their counsel, but only to

         the extent necessary to conduct or prepare for depositions or testimony in the

         Litigation;

      f. Any person indicated on the face of a document or accompanying covering

         letter, email, or other communication to be the author, addressee, or an actual or

         intended recipient of the document, or, in the case of meeting minutes and

         presentations, anyone identified on the document as an attendee of the meeting;

      g. The Court, including any clerk, translator, stenographer, videographer, or other

         person having access to Attorney’s Eyes Only Information by virtue of his or

         her position with the Court, and including the jury at trial or as exhibits to

         motions; and

      h. Any other person only upon (i) order of the Court entered upon notice to the

         Parties, or (ii) written stipulation or statement on the record of agreement by the

         Producing Party who provided the Attorneys’ Eyes Only Discovery Material

         being disclosed, and provided that such person signs an undertaking in the form

         attached as Exhibit A hereto.


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             i. Any videographer, translator, court reporter, or transcriber who reports, tapes,

                translates, or transcribes testimony in this Litigation at a deposition will agree

                by a statement on the record, before recording or transcribing any such

                testimony constituting Attorneys’ Eyes Only Discovery Materials, that all such

                testimony and information revealed at the deposition is and will remain

                confidential and will not be disclosed by such translator, videographer, reporter,

                or transcriber except to the attorneys for each Party and any other person who

                is present while such testimony is being given, and that copies of any transcript,

                reporter’s notes or any other transcription records of any such testimony will be

                retained in confidentiality and safekeeping by such videographer, translator,

                reporter, or transcriber or will be delivered to the undersigned attorneys.

       10.      Confidential Discovery Material may be provided to persons listed in Paragraph

8(c) and Attorneys’ Eyes Only Discovery Material may be provided to persons listed in

Paragraph 9(d) only to the extent necessary for such expert or consultant to prepare a written

opinion, to prepare to testify, or to assist counsel in the Litigation, provided that such expert or

consultant (i) is not a current or former employee of Dominion subject to a non-disclosure

agreement, (ii) is not a current competitor of Dominion, an employee of a current competitor of

Dominion, or advising or discussing employment with, or a consultant to, a current competitor

of Dominion, (iii) agrees to use, and does use, the Discovery Material solely in connection with

the Litigation and (iv) agrees to be bound by the terms of this Order by signing an undertaking

in the form attached as Exhibit A hereto. Subparagraph (i) above does not apply to any expert or

consultant of Dominion. Counsel for the Party showing, providing, or disclosing Confidential or

Attorneys’ Eyes Only Discovery Material to any person required to execute an undertaking under


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this Paragraph will be responsible for obtaining such signed undertaking and retaining the

original, executed copy thereof. “Competitors” are persons or entities endeavoring to engage in

the same or similar lines of business, who provide the same or similar services, who sell the

same or similar products, or who operate in the same markets, as well as any persons who are

engaged in any of these activities.

        11.     Every person to whom Confidential or Attorneys’ Eyes Only Discovery

Material is disclosed, summarized, described, characterized, or otherwise communicated

or made available, orally or in writing, in whole or in part, will be advised that the information

is being disclosed subject to the terms of this Order and may not be disclosed or used for

purposes other than those permitted hereunder. Each such person will maintain the Confidential

or Attorneys’ Eyes Only Discovery Material, or information derived therefrom, in a manner

reasonably calculated to prevent unauthorized disclosure. Any Party issuing a subpoena to a

non-Party will enclose a copy of this Order and notify the non-Party that the protections of this

Order will apply to Discovery Materials of such non-Party.

        12.     Any pleading, brief, memorandum, motion, letter, affidavit, declaration, or other

document filed with the Court that discloses, summarizes, describes, characterizes, or otherwise

communicates Confidential or Attorneys’ Eyes Only Discovery Materials (a “Confidential

Filing”) must be filed with the Court under seal in accordance with Local Rule 5.1(h), along

with a cover page bearing the caption of the Litigation and the title of the Confidential Filing

and stating:


YOU ARE IN POSSESSION OF A DOCUMENT FILED IN THE UNITED STATES
DISTRICT COURT FOR THE DISTRICT OF COLUMBIA THAT IS
CONFIDENTIAL AND FILED UNDER SEAL.

If you are not authorized by Court Order to view or retrieve this document read no

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further than this page. You should contact the following person:

[Filing Attorney’s or Party’s Name]
[Filing Attorney’s Law Firm Name]
[Filing Attorney’s or Party’s Address]
[Filing Attorney’s or Party’s Telephone Number]

No other information should appear on the cover page. Every page of a Confidential Filing will

have a footer stating “THIS DOCUMENT IS CONFIDENTIAL AND FILED UNDER SEAL.

REVIEW AND ACCESS TO THIS DOCUMENT IS PROHIBITED EXCEPT BY PRIOR

COURT ORDER.” A Party may omit this footer for voluminous exhibits.

       13.     A Party making a Confidential Filing must file a copy of the Confidential Filing

for public inspection that omits only the information that the Party has good cause to believe

should continue to be sealed. Notwithstanding the foregoing, the Parties have no obligation to

file public versions of any exhibits or attachments to a Confidential Filing, unless otherwise

ordered by the Court.

       14.     All materials filed pursuant to Paragraph 13 will be released from confidential

treatment only upon further order of this Court, either on its own motion or pursuant to the

procedure set forth in Paragraph 15 below. The provisions of this paragraph may be waived only

with the written consent of the Producing Party.

       15.     Any Party who objects to the continued restriction on public access to any

Confidential or Attorneys’ Eyes Only Filing, or any portion thereof, will give written notice of

the objection to the Party that designated the Discovery Material as Confidential or Attorneys’

Eyes Only (“the Designating Party”). To the extent that the Designating Party seeks to continue

the restriction on public access to the Confidential or Attorneys’ Eyes Only Filing, or any portion

thereof, the Designating Party will file an application with the Court within seven (7) days for

a judicial determination as to whether good cause exists for continued restricted access to the

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Confidential Filing, or any portion thereof.

       16.     If a Party objects to the designation of Discovery Material as Confidential or

Attorneys’ Eyes Only Discovery Material, that Party (“the Objecting Party”) will send written

notice to the Designating Party that includes a date and time for a meet and confer to discuss the

disputed designation. The Objecting Party and the Designating Party will thereafter meet and

confer either at the suggested date and time or, to the extent the Designating Party is unavailable

at the suggested date and time, at some other agreed date and time. If the meet and confer

procedure does not resolve the dispute, the Objecting Party will, within twenty-one (21) days of

the meet and confer, file a motion with the Court to strike the designation. The Producing Party

will, within fourteen (14) days, file a response, and the Objecting Party will file a reply within

seven (7) days, after which the matter will be fully briefed and ripe for the Court to resolve the

dispute. A hearing may be held at the discretion of the Court. While such an application is

pending, the Discovery Material or testimony in question will be treated as Confidential or

Attorneys’ Eyes Only Discovery Material pursuant to this Order. The burden of establishing that

any Discovery Material was properly designated as Confidential or Attorneys’ Eyes Only

Discovery Material is on the Designating Party. If an Objecting Party seeking to challenge any

designation of Discovery Material or testimony as Confidential or Attorneys’ Eyes Only fails to

object and propose a meet and confer as described in Paragraph 16, then the Objecting Party

will be deemed to have permanently waived its right to challenge the designation of the disputed

Discovery Material as Confidential or Attorneys’ Eyes Only.

       17.     The Parties reserve the right to apply, under Rules 5.2(e) and 26 of the Federal

Rules of Civil Procedure and Local Rule 5.1(h), for an order seeking additional safeguards with

respect to the use and handling of Discovery Material or to modify the terms of this Order.


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       18.      Entering into this Order, or agreeing to or producing or receiving Discovery

Material or otherwise complying with the terms of this Order, will not:

             a. prejudice in any way the rights of any Party to (i) seek production of any

                documents or information in discovery, or (ii) object to the production of any

                documents or information on the ground that it is not subject to discovery;

             b. operate as an admission by any Party that any particular Discovery Material

                constitutes Confidential or Attorneys’ Eyes Only Discovery Material or contains

                or reflects trade secrets or any other type of confidential information;

             c. prejudice in any way the rights of any Party to (i) petition the Court for a further

                protective order relating to any purportedly Confidential or Attorneys’ Eyes

                Only Discovery Material, or (ii) seek a determination by the Court whether any

                Discovery Material or Confidential or Attorneys’ Eyes Only Discovery Material

                should be subject to the terms of this Order;

             d. prevent any Producing Party from agreeing in writing to alter or waive the

                provisions or protections provided herein with respect to their designation of any

                particular Discovery Material;

             e. prejudice in any way the rights of any Party to object to the relevance,

                authenticity, use, or admissibility into evidence of any document, testimony, or

                other evidence subject to this Order;

             f. preclude any Party from objecting to discovery that it believes to be otherwise

                improper; or

             g. operate as a waiver of any attorney-client, work product, business strategy, trade

                secret or other privilege.

       19.      This Order has no effect upon, and will not apply to, a Producing Party’s use or
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disclosure of its own Discovery Material for any purpose. Nothing herein will prevent a

Producing Party from disclosing its own Discovery Material.

       20.      If Discovery Material that is subject to a claim of attorney-client privilege,

attorney work product, or any other applicable privilege or ground on which production of that

information should not be made to any Party (“Inadvertent Production Material”) is inadvertently

produced by a Producing Party or Parties, such inadvertent production will in no way prejudice

or otherwise constitute a waiver of, or estoppel as to, any claim of attorney-client privilege, work

product, or other applicable privilege.

             a. A claim of inadvertent production will constitute a representation by the Party

                claiming inadvertent production that the Inadvertent Production Material has

                been reviewed by an attorney for the Party claiming inadvertent production and

                that there is a good faith basis for the claim of inadvertent production.

             b. If a claim of inadvertent production is made under this Order, with respect to

                Discovery Material then in the custody of another Party, the Party possessing

                the Inadvertent Production Material will: (i) refrain from any further

                examination or disclosure of the claimed Inadvertent Production Material; and

                (ii) if requested, promptly make a good faith effort to destroy all such claimed

                Inadvertent Production Material (including summaries and excerpts) and all

                copies thereof, and certify in writing to that fact. Once a claim of inadvertent

                production is made, no Party may use the Inadvertent Production Material for

                any purpose until further order of the Court.

             c. The Party claiming inadvertent production and a Receiving Party will follow the

                same procedure set forth in Paragraphs 15 and 16 for challenging the designation


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               of Inadvertent Production Material; while any motion relating to the Inadvertent

               Production Material is pending, the Inadvertent Production Material in question

               will be treated in accordance with Paragraph 7. A Receiving Party may not assert

               as a ground for challenging privilege the fact of the inadvertent production, nor

               may it include or otherwise disclose in any filing relating to the challenge, as an

               attachment, exhibit, or otherwise, the Inadvertent Production Material (or any

               portion thereof).

       21.     Nothing herein will be deemed to waive any applicable common law or statutory

privilege or work product protection.

       22.     In the event additional Parties join or are joined in the Litigation, they will not

have access to Confidential or Attorneys’ Eyes Only Discovery Material until the newly joined

Party by its counsel has executed this Order and filed with the Court its agreement to be fully

bound by it.

       23.     Subject to the requirements of Rules 5.2(e) and 26 of the Federal Rules of Civil

Procedure and Local Rule 5.1(h), the provisions of this Order will, absent written permission of

the Designating Party or further order of the Court, continue to be binding throughout and after

the conclusion of the Litigation, including, without limitation, any appeals therefrom, except as

provided in Paragraph 24.

       24.     In the event that any Confidential or Attorneys’ Eyes Only Discovery Material

is used in open court during any court proceeding or filed, marked, or lodged as a trial exhibit,

the material will lose its confidential status and become part of the public record, unless the

Designating Party applies for and obtains an order from this Court specifically maintaining the

confidential status of particular material. Before any court proceeding in which Confidential or


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Attorneys’ Eyes Only Discovery Material is to be used, counsel will confer in good faith on

such procedures that may be necessary or advisable to protect the confidentiality of any such

Discovery Material.

        25.     Within 60 days after receiving notice of the entry of an order, judgment, or decree

finally disposing of the Litigation, or any other proceeding in which Confidential or Attorneys’

Eyes Only Discovery Material is permitted to be used, including the exhaustion of all possible

appeals, and upon the written request of the Designating or Producing Party, all persons having

received Confidential or Attorneys’ Eyes Only Discovery Material will either (i) make a good-

faith and reasonable effort to return such material and all copies thereof (including summaries,

excerpts, and derivative works) to counsel for the Producing Party; or (ii) make a good-faith and

reasonable effort to destroy all such Confidential or Attorneys’ Eyes Only Discovery Material,

and certify to that fact in writing to counsel for the Designating or Producing Party. However,

counsel for the Parties will be entitled to retain court papers, trial transcripts, and attorney work

product containing Confidential or Attorneys’ Eyes Only Discovery Material, provided that such

counsel, and employees of such counsel, will maintain the confidentiality thereof and will not

disclose such court papers, trial transcripts, or attorney work product containing Confidential or

Attorneys’ Eyes Only Discovery Material to any person except under a court order or agreement

by the Designating and Producing Party or except as otherwise required by law. All materials

returned to the Parties or their counsel by the Court likewise will be disposed of in accordance

with this paragraph.

        26.     If any person in possession of Confidential or Attorneys’ Eyes Only Discovery

Material receives a subpoena or other compulsory process seeking the production or other

disclosure of Confidential or Attorneys’ Eyes Only Discovery Material the person neither

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produced nor designated (collectively, a “Demand”), the person will give written notice (by

hand, email, or facsimile transmission) to counsel for the Designating and Producing Parties

within three business days of receipt of such Demand (or if a response to the Demand is due in

less than three business days, at least 24 hours prior to the deadline for a response to the

Demand), identifying the Confidential or Attorneys’ Eyes Only Discovery Material sought and

enclosing a copy of the Demand, and must object to the production of the Confidential or

Attorneys’ Eyes Only Discovery Material on the grounds of the existence of this Order. The

burden of opposing the enforcement of the Demand will fall on the Designating Party. Nothing

herein will be construed as requiring the person receiving the Demand or anyone else covered

by this Order to challenge or appeal any order requiring production of Confidential or

Attorneys’ Eyes Only Discovery Material covered by this Order, or to subject itself to any

penalties for noncompliance with any legal process or order, or to seek any relief from this Court

or any other court. Compliance by the person receiving the Demand with any court order

directing production under a Demand of any Confidential or Attorneys’ Eyes Only Discovery

Material will not constitute a violation of this Order.

       27.     Absent court order, no person who is not a party to the Litigation who receives

Confidential or Attorneys’ Eyes Only Discovery Material as permitted under the terms of this

Order (“a Non-Party”) will reveal any Confidential or Attorneys’ Eyes Only Discovery Material,

or the information contained therein, to anyone not entitled to receive such Confidential or

Attorneys’ Eyes Only Discovery Material under the terms of this Order. In the event that

Confidential or Attorneys’ Eyes Only Discovery Material is disclosed to any person other than

in the manner authorized by this Order, or that any information comes to the Non-Party’s

attention that may indicate there was or is likely to be a loss of confidentiality of any


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Confidential or Attorneys’ Eyes Only Discovery Material, the Non-Party responsible for the

disclosure or loss of confidentiality will immediately inform the Designating and Producing

Party of all pertinent facts relating to the disclosure or loss of confidentiality, including, if

known, the name, address, and employer of each person to whom the disclosure was made. The

Non-Party responsible for the disclosure or loss of confidentiality will also make reasonable

efforts to prevent disclosure of Confidential or Attorneys’ Eyes Only Discovery Material by

each unauthorized person who receives the information.

       28.     The Parties agree that the production of any Discovery Material by any non-Party

is subject to and governed by the terms of this Order.

       29.     If a Party violates this Order by releasing, leaking, or otherwise disclosing

Confidential or Attorneys’ Eyes Only Discovery Material to persons or entities not entitled to

such Discovery Material under this Order, the Court will have authority to impose sanctions

under Rule 37(b)(2)(A)(i)-(vi).

       30.     This Court will retain jurisdiction over all persons subject to this Order to the

extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

contempt thereof.

IT IS SO ORDERED.



 DATE: June 16, 2023                                   _________________________________
                                                       CARL J. NICHOLS
                                                       United States District Judge




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                                 Exhibit A to Protective Order

              U.S. Dominion, Inc., et al. v. Powell, et al., No. 1:21-cv-00040 (CJN)
                U.S. Dominion, Inc., et al. v. Giuliani, No. 1:21-cv-00213 (CJN)
              U.S. Dominion, Inc., et al. v. Lindell, et al., No. 1:21-cv-00445 (CJN)
                     US Dominion Inc., et al v. Byrne, No. 1:21-cv-02131 (CJN)

                                        UNDERTAKING

       I have read the Protective Order of                        ,    , 2023, in this action (the

“Order”) and undertake to access and use Discovery Material, Confidential Material, and

Attorneys Eyes Only Material only as the Order permits.


Signed this         day of                    , 2023.

                                                                                          [Name]




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